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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION


THE DAILY WIRE, LLC et al.,

             Plaintiffs
      v.
                                                Civil Action No. 6:23-cv-00609 (JDK)
UNITED STATES DEPARTMENT
OF STATE et al.,

             Defendants.


 REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS

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                                          INTRODUCTION

        The complaint focused largely on GEC’s interactions with two private companies—

NewsGuard and GDI—whose products, Plaintiffs claim, are used by other private parties, injuring

Media Plaintiffs’ economic and First Amendment interests and Texas’s sovereign interests. As

explained in the government’s motion to dismiss, that speculative theory cannot establish standing as

a matter of law. As for Media Plaintiffs, there is no concrete, certainly impending injury-in-fact as

required for prospective injunctive relief. Moreover, any such injury would depend on the independent

actions of third parties and is therefore not traceable to Defendants or redressable by this Court. As

for Texas, none of the alleged conduct interferes with its enforcement of H.B. 20, and even if it did,

Texas is not currently enforcing H.B. 20, and this litigation will not change that reality. Plaintiffs also

lack standing as a factual matter because the record shows that GEC did not fund GDI’s relevant

technology or NewsGuard’s ratings, neither of which “censor” anyone in the first instance.

        Underscoring all of that, Media Plaintiffs do not cite a single example in which an internet user

could not access their content, or an advertiser chose not to spend money on their websites, as a result

of Defendants’ conduct—let alone an example of that happening now or imminently. Likewise, Texas

has not offered any example of a company violating H.B. 20, or of Texas’s inability to enforce its law

against such a hypothetical company, as a result of Defendants’ conduct. Instead, Plaintiffs in their

response recycle the same theories of speculative and conclusory harm—far-removed from any of

Defendants’ alleged conduct—that the government has already rebutted. Plaintiffs also improperly

raise entirely new allegations about third parties and third-party technologies that do not appear in the

complaint, many of which Plaintiffs do not even attempt to tie to any concrete injury to themselves.

The Court should not consider these new allegations, but even if it does, the allegations suffer from

the same problems as those regarding NewsGuard and GDI because the new theories of harm

similarly depend on the independent actions of private third parties. Finally, Plaintiffs fail to identify


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the final agency action they challenge, which forecloses their APA claim.

        At bottom, Plaintiffs’ opposition and the nearly six-hundred pages of exhibits attached to it

confirm that Plaintiffs seek to use this litigation to air generalized grievances largely about the conduct

of third-party private companies, in contravention of Article III’s case-or-controversy requirement.

The Court should dismiss the complaint in its entirety for lack of subject-matter jurisdiction.

                                              ARGUMENT

I.      Plaintiffs’ standing and the merits of their claims are not “coterminous.”

        A court must confirm its jurisdiction—including “Article III standing”—before proceeding

to the merits. Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 101 (1998).1 And, as Plaintiffs agree, a

court can resolve factual disputes in deciding whether jurisdiction exists. Mot. (ECF 33) at 14–15;

Opp. (ECF 41) at 4. Nevertheless, Plaintiffs argue that the government’s factual attack on jurisdiction

is “inextricably intertwined with the merits,” and therefore the Court should wait to decide it. Opp. at

4–5. Not so. The authorities Plaintiffs cite for that proposition involve an entirely different scenario—

that in which “the subject-matter jurisdiction and merits questions are coterminous.” Pickett v. Tex.

Tech Univ. Health Sci. Ctr., 37 F.4th 1013, 1030 (5th Cir. 2022). That is true if “subject matter jurisdiction

is derived from the same statute as the cause of action,” or if the “legal issues” relevant to jurisdiction

and merits “are identical.” Id. at 1031.2 Neither circumstance is present here. Plaintiffs’ asserted basis

for subject-matter jurisdiction does not derive from a statutory cause of action, and Plaintiffs’ standing

to bring this lawsuit turns on legal issues distinct from the merits of their claims. That is, whether


1
  Internal quotations and citations omitted throughout this brief.
2
  In Pickett, “the merits question—whether Pickett stated ADA claims—[was] the first element of the
jurisdictional question.” 37 F.4th at 1031. Plaintiffs’ other authorities are similarly inapposite; none
involved a motion to dismiss for lack of standing based on a factual attack. See Williamson v. Tucker,
645 F.2d 404, 415 (5th Cir. 1981) (“[D]efendant’s challenge to the court’s jurisdiction is also a challenge
to the existence of a federal cause of action . . . .”); U.S. ex rel. Vuyyuru v. Jadhav, 555 F.3d 337 (4th Cir.
2009) (jurisdiction turned on whether particular statutory provision was met); Adams v. Bain, 697 F.2d
1213 (4th Cir. 1982) (same); GLO v. Biden, 71 F.4th 264, 277 (5th Cir. 2023) (Graves, J., concurring in
part) (“Here, the . . . Defendants brought a facial challenge, not a factual challenge, to . . . standing.”).
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Plaintiffs have identified a source of ongoing or imminent injury, caused by Defendants’ conduct, and

redressable by this Court, is a different question than whether Defendants have violated Plaintiffs’

First Amendment rights, have complied with the APA, or are exceeding the bounds of their statutory

authority. To be sure, some of the same facts are relevant to standing and to the merits—as is routinely

the case when a plaintiff argues that a constitutional violation automatically establishes an injury—but

that does not mean the standing and merits inquiries here turn on “identical” “legal issues”—far from

it. As the Supreme Court explained in Steel Co., this Court should address standing before non-

jurisdictional issues. 523 U.S. at 101.

II.     Plaintiffs lack standing.

        Plaintiffs have failed to “clearly . . . allege facts demonstrating” standing, as they are required

to “at the pleading stage.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). Plaintiffs have also failed to

establish standing by a preponderance of the evidence as required to survive a factual attack under

Rule 12(b)(1). Superior MRI Servs., Inc. v. All. Healthcare Servs., Inc., 778 F.3d 502, 504 (5th Cir. 2015).

        A. Texas lacks standing.

        Contrary to Plaintiffs’ assertion that the Court does not need to resolve Texas’s standing if the

Media Plaintiffs have standing, Opp. at 24, the Court must decide whether Texas has standing because

Plaintiffs premised venue in this District on Texas’s presence in this lawsuit. See Compl. ¶ 8; Mot. to

Transfer (ECF 14) at 1. And if Texas lacks standing, venue cannot be based on Texas’s claims or its

residence. AGC of Am., Inc. v. FAR Council, 2024 WL 1078260, at *7 (W.D. La. Mar. 12, 2024) (holding

that venue was improper after concluding that the court lacked jurisdiction over the venue-creating

plaintiff’s claims, and collecting similar cases); see Mot. to Transfer Reply (ECF 40) at 1.

        Texas lacks standing because none of the alleged conduct prevents social media companies

from complying with any of H.B. 20’s provisions. Mot. at 16. If H.B. 20’s content-moderation

provisions prohibit social media companies from using certain technologies in particular ways, those


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companies can act accordingly. The same is true for H.B. 20’s “transparency” provisions (which are

not mentioned in the complaint) that require companies to explain content-moderation decisions. In

short, none of Defendants’ conduct affects, much less actively interferes with, any company’s decision

to follow Texas law, or Texas’s ability to enforce its law against would-be violators.3 Texas’s bare

speculation and conclusory assertions that corporations might independently choose to violate state

law are patently insufficient to meet any of the standing requirements. Underscoring the implausibility

of that theory, Plaintiffs fail to offer even a single instance of a company that is in fact currently

violating its law as a result of Defendants’ conduct.4

        Finally, as the government has explained at length, all of this assumes H.B. 20 is currently

being or will imminently be enforced, which is not the case. Mot. at 17–18; Mot. to Transfer at 5–6.

        B. Media Plaintiffs lack standing.

                1. The allegations regarding NewsGuard and GDI do not establish standing.

        Injury-in-fact. Plaintiffs have not established a “real and immediate threat of repeated injury”

as required for prospective injunctive relief. O’Shea v. Littleton, 414 U.S. 488, 495–96 (1974); City of

L.A. v. Lyons, 461 U.S. 95 (1983). The theory of injury to Media Plaintiffs pled in the complaint focused

primarily on two subgrants that Defendants issued years ago to GDI and NewsGuard and then—

without explaining this leap in logic—focused on GDI and NewsGuard products unrelated to

Defendants’ grants and alleged that those products are used by other private companies in a way that



3
  Plaintiffs confusingly argue that they need not show that Defendants “induced” companies to violate
H.B. 20, Opp. at 27, but that is Plaintiffs’ entire theory of injury. See Compl. ¶ 237 (“Defendants . . .
induce social media companies to violate HB 20.”). In any event, Plaintiffs show no causal connection
between Defendants’ alleged actions and Texas’s alleged injury.
4
  Plaintiffs assert for the first time, in a one-sentence footnote, a “procedural injury” to Texas from
the APA claim. Opp. at 24 n.54. Not only is this injury not referenced in Plaintiffs’ complaint, but a
“one-sentence footnote briefly mentioning [an] issue . . . is insufficient to raise” it. Branch v. CEMEX,
Inc., 2012 WL 2357280, at *12 n.8 (S.D. Tex. June 20, 2012), aff’d, 517 F. App’x 276 (5th Cir. 2013).
In any event, the argument fails as a matter of law because “deprivation [of] a procedural right in vacuo
[] is insufficient to create Article III standing.” Summers v. Earth Island Inst., 555 U.S. 488, 496 (2009).
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causes Media Plaintiffs economic and First Amendment harms. Compl. ¶¶ 125–32 (GDI), ¶¶ 142–47

(NewsGuard). Plaintiffs also pointed to various GEC initiatives that are unconnected to any particular

harm to Media Plaintiffs. But none of that establishes actual, concrete, and ongoing or imminent harm

to Media Plaintiffs. Mot. at 19–20.

        In response, Plaintiffs fail to explain how those subgrants, from years ago, cause them ongoing

or future injury. Plaintiffs also fail to rebut the core fact in the government’s submitted declarations:

both subgrants were used for the sole purpose of countering foreign disinformation circulated

overseas that harms U.S. national security. Plaintiffs do offer a grab bag of purported injuries based

on “still-available” Internet content such as years-old Twitter posts written by GEC’s grantee on an

account GEC does not control (Opp. at 12); a years-old video of the U.S.-Paris tech challenge hosted

on a third-party website (id. at 13); an academic article written by a third party and linked from a State

Department website that used NewsGuard in conducting a study (id. at 15); a link to a third-party

think tank website that in turn describes GDI and links to GDI’s website (id.); and generalized

allegations about GEC’s private-sector engagement work, untethered to Media Plaintiffs (id. at 17).

Plaintiffs do not articulate or provide a single example of how any of the above—none of which

directly references Media Plaintiffs at all—is in fact causing them injury. Nor have they alleged or

established that internet users cannot access their content as a result of NewsGuard’s ratings, which

do not block any content and simply provide a score and additional context for news articles, or GDI’s

non-public Dynamic Exclusion List, which similarly does not prevent readers from accessing the Daily

Wire’s or Federalist Media’s (or anyone else’s) websites. Skibinski Decl. ¶ 41 (“NewsGuard does not

censor any content. . . . [It] offers platforms, search engines, internet users, and others an alternative

to blocking or censoring content.”); id. ¶ 12 (“In all cases, [buying] decisions are entirely up to the

advertiser.”); Rogers Decl. ¶ 6 (“GDI provides data to advertisers around the world. . . . GDI has

neither the capability nor remit to ‘blacklist’ any media entities. All buying decisions are made by the


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advertising buyers themselves, in accordance with free market principles.”).

        Traceability. Standing cannot be premised on injury caused by “the independent action of

some third party not before the court.” Bennett v. Spear, 520 U.S. 154, 169 (1997); Clapper v. Amnesty

Int’l USA, 568 U.S. 398 (2013); Inclusive Cmtys. Project, Inc. v. Dep’t of Treasury, 946 F.3d 649 (5th Cir.

2019). Thus, where, as here, the “plaintiff is not himself the object of the government action or

inaction he challenges, standing is . . . substantially more difficult to establish.” Lujan v. Defs. of Wildlife,

504 U.S. 555, 562 (1992). Relatedly, as the Fifth Circuit has held, even “chains of causation with at

least two links” fail to establish standing. Inclusive Cmtys., 946 F.3d at 658 (collecting cases). These

principles foreclose Plaintiffs’ theories of harm, which depend on at least three links of actions taken

by third parties. Foremost, Defendants were not involved in the development of NewsGuard’s or

GDI’s products of which Plaintiffs complain. Skibinski Decl. ¶ 17; Rogers Decl. ¶¶ 6–8. In other

words, Defendants’ conduct has no connection—let alone a “causal” one—to how NewsGuard rates

the credibility of Media Plaintiffs and whether Media Plaintiffs are included in GDI’s non-public

Dynamic Exclusion List. See Lujan, 504 U.S. at 560. Second, those products are updated on a regular

basis, also independently of Defendants; how those products rate Media Plaintiffs presently or in the

future is entirely out of Defendants’ hands. Finally, whether any particular advertiser or social media

company will use those technologies in the future to “harm” Media Plaintiffs is far-removed from

Defendants’ past or present conduct. Again, Plaintiffs’ failure to cite even a single instance of current,

concrete injury tied to Defendants’ conduct highlights the implausibility of their theory of traceability.

        In response, Plaintiffs argue that their “injuries are the predictable result” of Defendants’

actions, and that “only one relevant third-party choice remains” in their purported causal chain of

harm—“an organization adopting the tool or technology promoted by Defendants.” Opp. at 18–19.

That “one-step” characterization is wrong, as explained above. It also hinges on the premise that

Defendants’ “promotion” of tools or technologies for particular purposes—i.e., GEC and its grantees


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encouraging others to use products that it identified as being promising in combatting foreign

disinformation overseas—opens the courthouse doors to Plaintiffs’ generalized complaints about how

NewsGuard and GDI have independently described them, and then further how their products are

used by other third parties. Plaintiffs’ cited cases do not support that expansive and novel theory of

traceability. See Dep’t of Com. v. New York, 139 S. Ct. 2551 (2019) (traceability was satisfied where it

turned only on a single inference supported by empirical evidence—that noncitizens would respond

to the census at a lower rate due to the challenged action—that directly injured the plaintiffs); Texas v.

Biden, 20 F.4th 928 (5th Cir. 2021) (traceability similarly turned on a single inference—that noncitizens

would apply for driver’s licenses), rev’d and remanded, 597 U.S. 785 (2022); Massachusetts v. EPA, 549

U.S. 497, 523–24 (2007) (defendants “[did] not dispute the existence of a causal connection”).

        Redressability. Plaintiffs cannot show that the injunction they seek would remedy their

purported injuries. In addition to the fundamental problem that their injuries, if any, are caused by

private companies, Plaintiffs have not established any ongoing connection between Defendants and

any of the third-party companies—those named in either the complaint or in the new allegations in

their opposition—that this Court could alter through an injunction. In fact, the overbroad nature of

the relief Plaintiffs seek highlights the problem with their entire theory of standing: they fail to identify

a particular set of ongoing actions to enjoin, because they have not identified any ongoing concrete

harm to them that is traceable to ongoing conduct. See Opp. at 19–20 (requesting that the Court enjoin

unspecified “ultra vires testing, funding, developing and promotion of . . . tools and technologies that

target the domestic press and speech”). And the ongoing “harms” of which Plaintiffs complain,

summarized above, largely derive from third-party websites, underscoring the lack of redressability.

                2. Plaintiffs’ attempts to undermine the declarations in support of the motion
                   to dismiss are unpersuasive.

        Plaintiffs’ attempts to discredit the sworn declarations attached to the government’s motion

to dismiss are unpersuasive. See Opp. at 20–24. First, Plaintiffs attack GEC Principal Deputy

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Coordinator Daniel Kimmage’s declaration because “not once does he deny that GEC’s various

initiatives likewise reached domestic press and speech.” Opp. at 20–21. That contention betrays a

profound misunderstanding of the relevant issues before this Court. It is not Defendants’ burden to

establish that none of the companies or researchers whose products GEC (or its grantees) identified

as being useful for combatting foreign disinformation overseas could, under no circumstances, be

used by other actors to identify disinformation from domestic news sources. Rather, Plaintiffs have

the burden to show that they are suffering concrete injury attributable to Defendants’ conduct. On

that score, Kimmage’s Declaration explains why Plaintiffs’ various attempts to tie their purported

injuries to GEC lack a factual basis. Indeed, GEC would be “severely constrain[ed]” in carrying out

its statutorily mandated mission if it could not support a technology merely because that technology

has more than one possible use. Kimmage Decl. ¶¶ 24–25. Most technologies that identify foreign

disinformation overseas can be used in a wide range of settings, id., but the evidence shows that GEC

limits its assessment and support of technologies to foreign contexts, id. ¶¶ 8, 10–11.

       Plaintiffs’ attacks on the declarations submitted by NewsGuard’s General Manager Matthew

Skibinski and GDI’s CEO Dr. Daniel Rogers fare no better. Those declarations establish that there is

no causal link between Defendants’ conduct and the development of NewsGuard’s or GDI’s products

that Plaintiffs complain of, because Defendants did not fund or otherwise support those products.

Skibinski Decl. ¶¶ 17, 23–24; Rogers Decl. ¶¶ 6–8. Plaintiffs are left to criticize facts such as that

NewsGuard took care to minimize data collection on U.S. persons. Plaintiffs then speculate that this

means NewsGuard “gathered at least some domestic information,” Opp. at 21, a claim that lacks

record support and does not establish particularized injury to Plaintiffs. Similarly, Plaintiffs take

quotations from NewsGuard’s press release about the 2020 Countering Disinformation Challenge out

of context; NewsGuard’s statements in its press release reference the projects it presented as part of

that Tech Challenge, not the work it subsequently performed for GEC pursuant to its subgrant. ECF


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11-24. Plaintiffs cannot dispute that “the scope of the project was limited to monitoring foreign state-

sponsored sources of disinformation—with no focus on domestic news sources.” Skibinski ¶ 25.5

Finally, contrary to Plaintiffs’ assertions, Dr. Rogers attested that “GDI’s Dynamic Exclusion List”—

the purported sources of Plaintiffs’ injuries—“was not funded by the State Department or any State

Department-affiliated entity.” Rogers ¶ 7. Instead of contesting that key point, which they cannot,

Plaintiffs raise several red herrings, none of which establishes any causal connection between

Defendants and ongoing harm to Plaintiffs through GDI, as is Plaintiffs’ burden.6

                3. The Court should disregard Plaintiffs’ new allegations, which are in any
                   event insufficient to establish standing.

        Perhaps in recognition that the complaint is deficient as-is, Plaintiffs’ opposition raises

allegations about numerous new third-parties, third-party technologies, and State Department

activities that appear nowhere in the complaint. Opp. at 13–14 (Media Literacy Now); id. at 15–18.

But “it is axiomatic that a complaint may not be amended by the briefs in opposition to a motion to

dismiss.” Jaraba v. Blinken, 568 F. Supp. 3d 720, 727 (W.D. Tex. 2021). The Court should not consider

any of these new allegations in deciding the motion to dismiss.7 Plaintiffs might believe that these new

allegations permissibly derive from the complaint’s amorphous and overbroad rhetoric about the State

Department’s “censorship scheme” and the unidentified technologies that the complaint references.



5
  Plaintiffs fail to articulate harm from NewsGuard’s Misinformation Fingerprints product, which
“does not rate the credibility of news publishers and is not used to direct the placement of
advertisements.” Skibinski Decl. ¶ 16.
6
  Read in context, Dr. Rogers’s statement that the government does not fund GDI’s infrastructure
costs is speaking about infrastructure for the Dynamic Exclusion List, referenced in the prior sentence.
Rogers ¶ 7. GDI CEO Melford’s statement during the U.S.-Paris Tech Challenge that the resulting
subgrant would fund GDI’s infrastructure in that different context—a project aimed at targeting
foreign disinformation—does not contradict that. See Opp. at 22–23.
7
  To be sure, the Court can and should consider Plaintiffs’ evidence in support of the complaint’s
existing allegations in deciding the factual motion to dismiss. But Plaintiffs cannot use evidence to
amend their complaint. Cf. In re Enron Corp., 761 F. Supp. 2d 504, 566 (S.D. Tex. 2011) (“[T]he Court
does not consider new arguments raised by Plaintiffs in opposition to [Defendant’s] motion to dismiss
as part of their pleadings. . . .”).
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That would be mistaken. The core lesson from Twombly and its progeny is that broad “terms like

‘conspiracy’ or even ‘agreement’ . . . might well be sufficient in conjunction with a more specific

allegation—for example identifying a written agreement . . ., but a court is not required to accept such

terms as a sufficient basis for a complaint.” 550 U.S. 544, 558–59 (2007). In other words, Plaintiffs

cannot use the complaint’s vague, conclusory language to bootstrap new, specific allegations.

       In any event, as a matter of law, Plaintiffs’ new allegations do not come close to establishing

standing. Plaintiffs do not even attempt to connect several of the new theories—those involving

“Public Editor,” “Critical Mass LLC,” “Election Integrity Partnership,” and flagging Chinese Twitter

accounts—to Media Plaintiffs, instead resting on the specter of generalized, purported harm to

“American speech” as a whole. Opp. at 16–17. That ignores virtually every legal principle underlying

the case-or-controversy requirement, and the Court should reject them outright.8

       Moreover, the allegations regarding Logically.AI and Media Literacy Now fail for the same

reasons that the complaint’s allegations about NewsGuard and GDI fail. As for the former, Plaintiffs’

theory of injury apparently stems from one paragraph of a three-year-old newsletter written by a GEC

grantee about a private company that independently fact-checks news articles, including a handful of

Media Plaintiffs’ articles in 2021. Opp. at 15–16. That chain of events does not meet Article III’s

requirements. There is no plausible basis to infer that the paragraph in the years-old newsletter, on a

website that is no longer accessible, is causing ongoing or imminent injury to Media Plaintiffs.

Moreover, there are numerous traceability problems: (a) GEC’s grantee, not GEC, wrote the post; (b)

the theory depends on the independent decisions of third parties to adopt Logically.AI’s products;

and (c) it further depends on those third parties using one of those products in a way that will harm

Media Plaintiffs in the future. And there is no injunction this Court could order, directed at


8
 Even if true, these allegations cannot support injury to Texas either, because they do not show that
Defendants are currently engaged in any activity that prevents social media companies from complying
with H.B. 20 or prevents Texas from enforcing H.B. 20 against a company that violates that law.
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Defendants, that would remedy any of the above, because Plaintiffs have not asserted any ongoing

connection between Defendants and Logically.AI, and the Disinfo Cloud Digest no longer exists.

        The same analysis applies to the 2021 Media Literacy Now seminar. See Opp. at 13–15.

Plaintiffs assert that (a) the State Department’s Embassy in Berlin, Germany (not GEC) issued a

$30,000 grant three years ago to a private company for the purpose of promoting disinformation

training for teachers abroad; (b) during one of the seminar sessions organized by the private company

grantee, one speaker presented a chart about media bias; (c) the chart is part of a broader tool

published by a different third party (Ad Fontes) that rates media companies including Media Plaintiffs;

and (d) one of the sessions presented a “Data Detox Kit,” and on a separate webpage, the Detox Kit

lists NewsGuard in a list of tools that rate the credibility of news sources. It is difficult to understand

how Plaintiffs are imminently harmed by this years’ old sequence of events, let alone in a way that is

traceable to the original $30,000 grant, or is redressable. As for injury, this one-time seminar in 2021

was held for teachers, not for the advertisers and social media companies that are the purported source

of Media Plaintiffs’ injury; Plaintiffs fail to establish a relevant connection between the two. The

“Detox Kit” webpage does not “instruct” anyone to do anything; it contains a list of resources and

tells the reader to “use that information to decide for yourself” whether a news source is credible.

ECF 41-24. All of the above is also not traceable Defendants—it involves numerous independent

actions by third parties—nor could any theoretical ongoing harm be redressed by an injunction aimed

at Defendants because the grant to Media Literacy Now has ended.

III.    Plaintiffs have not identified any final agency action.

        Plaintiffs do not satisfy the APA’s jurisdictional requirement to identify the final agency action

that they challenge. Mot. at 26–27. Plaintiffs’ opposition brief reiterates that, in their view, the “final

agency action” they challenge is “Defendants’ secretive scheme to suppress . . . a segment of the

press.” Opp. at 7. In other words, Plaintiffs offer no rebuttal to the fact that the APA’s “prohibition


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on programmatic challenges” forecloses their claim. Sierra Club v. Peterson, 228 F.3d 559, 566 (5th Cir.

2000) (discussing Lujan v. National Wildlife Federation, 497 U.S. 871 (1990), which held that a plaintiff

could not challenge the Secretary of the Interior’s entire “land withdrawal review program” because

there was no identified final agency action). Plaintiffs lastly argue that the complaint identifies some

discrete agency actions, but even assuming those were final for APA purposes, Plaintiffs fail to address

the Fifth Circuit’s holding that they cannot “challenge an entire program by simply identifying specific

allegedly-improper final agency actions within that program.” Peterson, 228 F.3d at 567; see Mot. at 27.9

IV.     Jurisdictional discovery is not warranted.

        Finally, Plaintiffs request discovery to remedy the jurisdictional deficiencies in the complaint,

just as they have sought discovery to remedy the deficiencies in their preliminary injunction motion.

Opp. at 29–30. As the government has explained, this request should be denied. See Defs.’ Opp. to

Mot. for Exp. Disc. (ECF 20) at 6. “[A] party is not entitled to jurisdictional discovery if the record

shows that the requested discovery is not likely to produce the facts needed to withstand a Rule

12(b)(1) motion.” Freeman v. United States, 556 F.3d 326, 342 (5th Cir. 2009). Plaintiffs’ cursory request

fails to explain what facts Plaintiffs seek, or how those facts are likely to overcome the numerous facial

and factual flaws underlying their standing theories. The Court should reject that “jurisdictional fishing

expedition.” Johnson v. TheHuffingtonPost.com, Inc., 21 F.4th 314, 325 (5th Cir. 2021).10

                                            CONCLUSION

        For these reasons, the Court should grant Defendants’ motion to dismiss.




9
 Defendants have only moved to dismiss the APA claim for failure to identify final agency action.
10
  In seeking to maintain their duplicative claims against the official-capacity Defendants, Plaintiffs
assert without support that GEC “could be shifted to another federal agency.” Opp. at 30. Not so;
Congress directed the Secretary of State to establish the GEC within the State Department. 22 U.S.C.
§ 2656 note (Global Engagement Center) § (a)(1).
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Dated: April 17, 2024                  Respectfully submitted,

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                                  CERTIFICATE OF SERVICE
        On April 17, 2024, I electronically submitted this document to the clerk of the court of the

U.S. District Court for the Eastern District of Texas using the court’s electronic case filing system. I

certify that I have served all parties electronically or by another manner authorized by Federal Rule of

Civil Procedure 5(b)(2).

                                                                /s/ Arjun Mody
                                                                Arjun Mody




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